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                      BEFORE THE UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


    IN RE: DIGITAL ADVERTISING                   MDL No. 3010
    ANTITRUST LITIGATION
    _____________________________/

     PLAINTIFFS’ JOINT RESPONSE IN OPPOSITION TO GOOGLE DEFENDANTS’
      MOTION FOR TRANSFER OF ACTIONS TO THE NORTHERN DISTRICT OF
          CALIFORNIA PURSUANT TO 28 U.S.C. §1407 FOR COORDINATED
                      OR CONSOLIDATED PROCEEDINGS

         Plaintiffs1 in thirteen private, non-class cases2 brought against both Google, LLC

(“Google”) and Facebook, Inc. (“Facebook”) (collectively, “Defendants”), respectively file this

joint response in opposition to Google’s Motion for Transfer of Actions to the Northern District

of California Pursuant to 28 U.S.C. §1407 for Coordinated or Consolidated Proceedings (“§1407

Motion”) (ECF No. 1), and state as follows:

I.       INTRODUCTION

         In 2009, a “Big Tech” CEO with unbridled ambition imagined what the future would look

like:


1
    Plaintiffs are comprised of 36 newspaper owners who publish local newspapers with
circulation in thirteen states including Arkansas, Delaware, Indiana, Louisiana, Maryland,
Mississippi, New Jersey, Ohio, Pennsylvania, Texas, West Virginia, and Wisconsin. Plaintiffs are
collectively referred to herein as the “Newspaper Plaintiffs.”
2
   These cases are as follows: HD Media Co., LLC v. Google, LLC, No. 3:21-cv-00077 (S.D. W.
Va.); AIM Media Ind. Operating, LLC v. Google, LLC, No. 1:21-cv-00951 (S.D. Ind.); AIM Media
Midwest Operating, LLC v. Google, No. 2:21-cv-01915 (S.D. Ohio); AIM Media Tex. Operating,
LLC v. Google, LLC, No. 7:21-cv-00150 (S.D. Tex.); Brown Cnty. Publ’g Co. v. Google, LLC,
No. 1:21-cv-00498 (E.D. Wis.); Clarksburg Publ’g Co., d.b.a. WV News v. Google, LLC, No. 1:21-
cv-00051 (N.D. W. Va.); Coastal Point LLC v. Google, LLC, No. 1:21-cv-00554 (D. Del.); Eagle
Printing Co. v. Google, LLC, No. 2:21-cv-00518 (W.D. Pa.); Ecent Corp. v. Google, LLC, No.
5:21-cv-00251 (S.D. W. Va.); Emmerich Newspapers, Inc. v. Google, LLC, No. 3:21-cv-00274
(S.D. Miss.); Flag Publ’ns, Inc. v. Google, LLC, No. 1:21-cv-00965 (D. Md.); Gale Force Media,
LLC v. Google, LLC, No. 2:21-cv-09716 (D.N.J.); Journal Inc. v. Google, LLC, No. 1:21-cv-00072
(N.D. Miss.) (collectively referred to herein as the “Newspaper Cases”).



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         It’s the year 2015. The compact device in my hand delivers me the world, one news
         story at a time. I flip through my favorite papers and magazines, the images as
         crisp as in print, without a maddening wait for each page to load. Even better, the
         device knows who I am, what I like, and what I have already read. So while I get
         all the news and comment, I also see stories tailored for my interests. I zip through
         a health story in The Wall Street Journal and a piece about Iraq from Egypt’s Al
         Gomhuria, translated automatically from Arabic to English. I tap my finger on the
         screen, telling the computer brains underneath it got this suggestion right. . . . This
         is a long way from where we are today. The current technology – in this case the
         distinguished newspaper you are now reading – may be relatively old, but it is a
         model of simplicity and speed compared with the online news experience today.3

         It’s now the year 2021. Thirty-six newspaper owners – direct competitors of Google –

have filed thirteen individual lawsuits against Google and Facebook for anticompetitive conduct

that is, by all objective measures, eviscerating the newspaper industry. The very existence of this

vital industry – that then Google CEO Eric Schmidt admitted was “critical for a functioning

democracy”4 – is being threatened with extinction.

         “News deserts” have taken hold throughout the country, with newsgathering, investigative

reporting and critical local news sources drying up.5 In its place, a technological behemoth force

feeds American citizens with tech-chosen, profit-driven content that simulates the lights, sounds,




3
    Eric Schmidt, How Google Can Help Newspapers, WALL ST. J. (Dec. 1, 2009),
https://www.wsj.com/articles/SB10001424052748704107104574569570797550520.
4
    Facebook’s co-founder and CEO, Mark Zuckerberg, likewise acknowledged that “[a] free
press is critical to a healthy democracy,” as well as the importance of newspapers in a free society,
admitting that “[l]ocal newspapers have been hardest hit by the technological changes” and that
“advertising revenue that used to support journalism now goes to companies like [his].” Mark
Zuckerberg, Facebook Can Help the News Business, N.Y. TIMES (Oct. 25, 2019), https://www.
nytimes.com/2019/10/25/opinion/sunday/mark-zuckerberg-facebook-news.html.
5
    The University of North Carolina Hussman School of Journalism and Media keeps track of the
exponential increase in “news deserts” in the United States. See Do You Live in a News Desert?,
UNC, https://www.usnewsdeserts.com/ (last visited May 24, 2021). A “news desert,” according
to UNC, is “a community, either rural or urban, with limited access to the sort of credible and
comprehensive news and information that feeds democracy at the grassroots level.”


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and excitement of a casino rather than informing us with thought-provoking content that educates,

inspires and opens up discourse across this diverse and vibrant democracy.

         Numerous antitrust cases against Google and Facebook, raising a variety of different

allegations by a variety of different groups, are currently pending in venues across the country.

For their part, the Newspaper Cases raise materially distinct issues from the class action case that

anchors Google’s §1407 Motion (In re Google Digital Advertising Antitrust Litig., No. 20-cv-

03556-BLF (N.D. Cal.)), pending in Google’s chosen home venue, which make them better suited

to be litigated in the Newspaper Plaintiffs’ chosen forums. While the Newspaper Plaintiffs believe

that some organizational structure may be appropriate for the efficient prosecution of these cases,

there are important distinctions among the various groups of cases that warrant the groups be

treated differently and counsel that they proceed separately. Through its §1407 Motion, Google

unjustifiably attempts to cherry-pick certain cases and arbitrary groupings of cases in an effort to

simply move cases to their home venue, the Northern District of California, despite the fact that

they have admitted that most of the relevant witnesses are on the opposite side of the country and

despite the fact that the delay this will cause is likely to irreparably harm the Newspaper Plaintiffs.




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         Each of the thirteen cases filed by the Newspaper Plaintiffs is pending in the Northeast,6

the Southeast7 or the Midwest8 regions of the United States, with the exception of one case filed

in Texas.9 Another newspaper case is pending in the Southern District of New York. If the Panel

is inclined to centralize the Newspaper Cases with other actions, the Newspaper Plaintiffs

respectfully submit that the Eastern District of Texas would be the most appropriate forum for the

parties. Alternatively, the Newspaper Plaintiffs respectfully submit that the Southern District of

New York or the District of Columbia would also be appropriate transferee courts.

         For the reasons set forth below, Google’s §1407 Motion should be denied, in whole or in

part, for multiple independent reasons.

II.      ARGUMENT

         A.         The Panel Should Exclude the Texas State Attorneys General Action
                    from any MDL

         As an initial matter, the Newspaper Plaintiffs strongly oppose Google’s “second-bite-of-

the-apple” attempt to bring the state attorneys general action, Texas v. Google, LLC, No. 20-cv-




6
   Eagle Printing Co. v. Google, LLC, No. 2:21-cv-00518 (W.D. Pa.); Gale Force Media, LLC v.
Google, LLC, No. 2:21-cv-09716 (D.N.J.); Journal Inc. v. Google, LLC, No. 1:21-cv-00072 (N.D.
Miss.).
7
   HD Media Co., LLC v. Google, LLC, No. 3:21-cv-00077 (S.D. W. Va.); Clarksburg Publ’g
Co., d.b.a. WV News v. Google, LLC, No. 1:21-cv-00051 (N.D. W. Va.); Ecent Corp. v. Google,
LLC, No. 5:21-cv-00251 (S.D. W. Va.); Emmerich Newspapers, Inc. v. Google, LLC, No. 3:21-
cv-00274 (S.D. Miss.); Coastal Point LLC v. Google, LLC, No. 1:21-cv-00554 (D. Del.); Flag
Publ’ns, Inc. v. Google, LLC, No. 1:21-cv-00965 (D. Md.).
8
   AIM Media Ind. Operating, LLC v. Google, LLC, No. 1:21-cv-00951 (S.D. Ind.); AIM Media
Midwest Operating, LLC v. Google, No. 2:21-cv-01915 (S.D. Ohio); Brown Cnty. Publ’g Co. v.
Google, LLC, No. 1:21-cv-00498 (E.D. Wis.).
9
      AIM Media Tex. Operating, LLC v. Google, LLC, No. 7:21-cv-00150 (S.D. Tex.).


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00957 (E.D. Tex.) (“Texas State AG Case”) into a multidistrict litigation (“MDL”) proceeding.10

As the state attorneys general are sure to explain in more detail, Google tried – but failed – to seek

transfer of the Texas State AG Case to the Northern District of California by a motion under 28

U.S.C. §1404 on the same grounds it seeks to bring the Texas State AG Case into an MDL under

§1407 now. See Memorandum Opinion and Order (“§1404 Denial Order”), Texas v. Google, LLC,

No. 20-cv-00957 (E.D. Tex. May 20, 2021), ECF No. 121.11 Google’s use of §1407 to sweep in

the Texas State AG Case is a cynical attempt to obtain the same relief.

         Moreover, the Texas State AG Case is moving swiftly under the capable stewardship of

Judge Sean D. Jordan, who has already set a trial date. Inclusion of the Texas State AG Case in

any MDL would likely grind that case to a halt, substantially prejudicing the states from

prosecuting their case on behalf of their individual and corporate citizens.

         Further, Congress has recently introduced a proposed amendment to 28 U.S.C. §1407(g)

to include state attorney general antitrust enforcement actions as exempt from transfer under




10
     As set forth below, this is also Google’s second attempt to relate the Section 1 claims brought
against Google for conspiring with Facebook, which the Honorable Beth Labson Freeman of the
Northern District of California expressly found to be “Not Related,” and which have been
proceeding before the Honorable Haywood S. Gilliam. See Related Case Order, In re Google
Digital Advertising Antitrust Litig., No. 5:20-cv-03556 (BLF) (N.D. Cal. Mar. 2, 2021), ECF No.
108; see also SPX Total Body Fitness LLC v. Google, LLC, No. 4:21-cv-00801-HSG (N.D. Cal.).
On April 27, 2021, Google sought to administratively continue the court-ordered case management
conference before Judge Gilliam, citing Google’s intent to file the instant motion before the MDL
Panel. Id., ECF No. 31. One day later, Judge Gilliam summarily denied Google’s motion, id.,
ECF No. 32, and the parties submitted their Joint Case Management Statement on May 4, 2021.
Id., ECF No. 37. Judge Gilliam held a case management conference on May 11, 2021, id., ECF
No. 38, and set a deadline for Google to respond to the complaint before him. Id., ECF No. 40.
11
    The Court in the Texas State AG Case also recently held a Rule 16 scheduling conference on
May 6, 2021, see id., ECF No. 118, and entered a Scheduling Order on May 21, 2021, id., ECF
No. 123, setting a fact discovery cut-off date in approximately one year, and a trial beginning June
5, 2023.


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§1407, see H.R. 3460; S. 1787,12 which provides a persuasive rationale to exclude the Texas State

AG Case from any MDL here.13 At bottom, it would be unfair and highly prejudicial to the state

attorneys general to have their case delayed by inclusion in Google’s requested MDL. If necessary,

any overlapping discovery between the Texas State AG Case and an MDL, if created, can easily

be coordinated between sophisticated counsel.

         B.         The Newspaper Plaintiffs’ Private Actions Should Not be Included in
                    any MDL

         In claiming that the Newspaper Plaintiffs’ private actions concern “the same allegedly

anticompetitive conduct, concerning the same products and services, on behalf of various publisher

and advertiser plaintiffs,” §1407 Motion at 1, Google overstates the similarities between the cases.

There are several reasons why the Newspaper Plaintiffs’ cases are different in significant respects

to both consolidated class actions pending in that district, particularly In re Google Digital




12
     State Antitrust Enforcement Venue Act of 2021, H.R. 3460, 117th Cong. (2021)
https://www.congress.gov/bill/117th-congress/house-bill/3460?s=1&r=10;           State     Antitrust
Enforcement Venue Act of 2021, S. 1787, 117th Cong. (2021) https://www.congress.gov/
bill/117th-congress/senate-bill/1787?r=1&s=1; see also Ashley Gold, Scoop: House antitrust bill
aims to boost state AGs, AXIOS (May 21, 2021) (quoting Rep. Ken Buck (R-Colo) as stating,
“Through this legislation, many of the inefficiencies and obstacles the states face in enforcing the
federal antitrust laws will be eliminated, resulting in quicker resolution for the citizens of those
states[.]”).
13
    The same rationale for excluding antitrust actions brought by the United States under §1407(g)
– that government suits would “almost certainly be delayed” if consolidated with private suits –
would apply with equal force to state attorney general antitrust actions. See H.R. Rep. No. 90-
1130, at 5, reprinted in 1968 U.S.C.C.A.N. at 1902-03 (“Government suits would then almost
certainly be delayed, often to the disadvantage of those injured competitors who would predicate
damages actions on the outcome of the Government’s suit.”).


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Advertising Antitrust Litig., No. 20-cv-03556-BLF (N.D. Cal.),14 rendering centralization or

consolidation of the Newspaper Plaintiffs’ actions with those class actions improper.15

         First, there are different parties involved. In terms of defendants, while there is overlap

as to Google, none of the cases pending in the Northern District of California for which Google

seeks centralization under §1407 names Facebook as a defendant.16 The Newspaper Plaintiffs

have all named Facebook as a defendant and, as discussed in greater detail below, the theories,

elements, and evidence underlying the Newspaper Plaintiffs’ claims against Facebook differ

substantially from any claim pending in the Northern District of California that Google seeks to

centralize.




14
    Google is also flat-wrong that the “first ad tech” case was filed in the Northern District of
California. See §1407 Motion at 3. In truth, the first “ad tech” case was actually filed in the
Northern District of Georgia on November 25, 2019. See Inform, Inc. v. Google, LLC, No. 1:19-
cv-05362 (N.D. Ga.). Interestingly, Google does not seek to transfer Inform to another district as
part of its requested MDL, see Schedule of Actions, ECF No. 1-2, perhaps because Google
recognizes that Inform is the real first-filed case, which militates against sending the MDL to the
Northern District of California.
15
    To the extent discovery in the Newspaper Plaintiffs’ private actions overlaps with discovery in
the class cases or the Texas State AG Case, Plaintiffs have no objection to coordinating such
discovery. Indeed, because there are very few groups of law firms representing plaintiffs in the
cases listed in Google’s Schedule of Actions, informal coordination of discovery should not be
complicated. See In re Bernzomatic & Worthington Branded Handheld Torch Prod. Liab. Litig.
(No. II), 410 F. Supp. 3d 1355, 1356 (J.P.M.L. 2019) (“Given the limited number of actions and
involved counsel, informal coordination of discovery and other pretrial matters among the parties
and involved courts, if the need arises, is preferable to formal centralization under Section 1407.”);
In re Credit Suisse Velocity Shares Daily Inverse VIX Short Term Exch. Traded Notes Sec. Litig.,
326 F. Supp. 3d 1379, 1381 (J.P.M.L. 2018) (same); see also In re Energy Drilling, LLC , Cont.
Litig., 140 F. Supp. 3d 1333, 1334 (J.P.M.L. 2015) (“Informal coordination and cooperative efforts
by the parties and involved courts can minimize or eliminate duplicative discovery and other
pretrial proceedings.”).
16
    While the case before Judge Gilliam alleges a conspiracy between Google and Facebook under
Section 1 of the Sherman Act, that case only names Google as a defendant. See SPX Total Body
Fitness LLC v. Google, LLC, No. 4:21-cv-00801-HSG (N.D. Cal.), ECF No. 34.


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         Further, the Newspaper Plaintiffs’ cases are brought by owners of local newspapers. In

contrast, Digital Advertising is brought by advertisers – none of whom is alleged to be a publisher.

Advertisers and the Newspaper Plaintiffs are different groups with different relationships to

Google, as they function on opposite ends of the advertising market and serve different roles within

that (and other) markets. Advertisers are also buyers, who pay to place their ads. The Newspaper

Plaintiffs, on the other hand, are sellers, and provide or sell white space (or inventory) to

advertisers.        The Newspaper Plaintiffs get paid by the advertisers when they integrate

advertisements into their news websites or news applications. Between the Newspaper Plaintiffs

and advertisers are a host of intermediaries, which provide the services linking advertisers to the

Newspaper Plaintiffs. Because they operate at different ends of the market, the Digital Advertising

plaintiffs and the Newspaper Plaintiffs are situated differently in relation to Google in at least two

important respects: (1) when Google provides intermediation services, Google acts as a seller for

the newspaper, helping the newspaper find advertising and sell their inventory of white space,

while at the same time acting as a buyer for the advertiser, who is looking to bid on, organize and

buy inventory from newspapers, and (2) when Google sells ad space, Google acts as a competitor

to our clients, whereby both Google and the newspapers are competing to sell their white space to

the customer advertisers. This is particularly noteworthy when the competitor is a newspaper or

news organization, where Google’s alleged anticompetitive and manipulative conduct is in full

display on days when the most newsworthy events are reported and higher ad revenue is generated

by the Newspaper Plaintiffs’ substantive content.

         In addition, none of the class cases are brought by a print newspaper (although two

plaintiffs do report the news online). It is true that the plaintiffs in In re Google Digital Publisher

Antitrust Litig., No. 20-cv-08984-BLF (N.D. Cal.), seek to represent all persons who received



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revenue from Google for displaying advertisements using Google’s Ad Exchange services or Ad

Network services (i.e., Google publisher customers) (see ECF No. 64, ¶192), which could

potentially include the Newspaper Plaintiffs as some of the many putative class members.

However, because the Newspaper Plaintiffs are pursuing individual claims against Google and

Facebook, they are unlikely to ever be members of any certified class, whether for trial or

settlement purposes.

         Second, there are different harms involved. In Digital Advertising, for instance, plaintiffs

allege that the fees paid by advertisers to Google for intermediation services were too high. In the

Newspaper Plaintiffs’ cases, they seek to recover for harm to their businesses, including lost profits

and other consequential damages, which are unique to each newspaper.

         The Newspaper Plaintiffs allege (through both their Section 1 and Section 2 claims) that

Google, inter alia: (1) manipulates how much of the advertisers “ad spend” is accessible to the

Newspaper Plaintiffs by manipulating auctions so that Google properties and Facebook

deceptively “win” the purported legitimate auctions, which puts 100% of certain dollars in

Google’s or Facebook’s pocket with zero to the Newspaper-competitors; (2) deceptively forecloses

proper placement of direct ad sales, which should be given priority, and instead places ads for

which Google will garner a profit; (3) places lower quality ads that garner less money onto the

Newspaper Plaintiffs’ websites, while higher quality ads are placed on Google-owned properties;

and (4) deceptively misappropriates the Newspaper Plaintiffs’ own client data, scrambles it, and

thereafter renders it unattainable for use by the Newspaper Plaintiffs unless they pay Google to get

it back. Concerning the Section 1 allegations, the gravamen of the Newspaper Plaintiffs’ claim is

that Google and Facebook secretly agreed on how the space would be allocated – not on how

much an advertiser would pay or a publisher would receive – but on who would get the placement



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at all. See, e.g., HD Media Co., LLC v. Google, LLC, No. 3:21-cv-00077 (S.D. W. Va.), ECF No.

1 at 13.

           Further, central to the Newspaper Plaintiffs’ damages is the harm they have suffered

because of the misuse and inability to effectively monetize their original news content and

journalism – damages that, critically, are not claimed by the plaintiffs in Digital Advertising or

Digital Publishing.

           Third, there are unique claims involved. As explained above, unlike in Digital Advertising

and Digital Publishing, the Newspaper Plaintiffs allege a Section 1 claim under the Sherman Act

based on Google’s and Facebook’s secret “jedi blue” agreement. Indeed, inclusion of this very

allegation in the SPX Total Body Fitness matter led Judge Beth Labson Freeman to conclude that

SPX Total Body Fitness was “not related” to either Digital Advertising or Digital Publishing – a

ruling Google claims was “in error.” See §1407 Motion at 6; Feb. 4, 2021 Tr. Status H’rg at 22,

In re Google Digital Advertising Antitrust Litig., No. 20-cv-03556-BLF (N.D. Cal.), ECF No. 84

(The Court: “I don’t know that your case will be related because I haven’t seen it. You mentioned

Facebook, and that comes – that’s different than these other cases in terms of their allegations, so

I’m a little concerned . . . . But once you mentioned Facebook, I’m not – you know, I’m going to

be looking at that carefully. I’m not sure I’m going down that road.”). See In re Equity Funding

Corp. of Am. Sec. Litig., 375 F. Supp. 1378, 1385 (J.P.M.L. 1973) (noting that the Panel “ordered

separate coordinated or consolidated pretrial proceedings” for cases that “rested upon a different

set of primary facts” than other cases). The Newspaper Plaintiffs have also asserted claims for

unjust enrichment, alleging that Google has improperly benefitted from the Newspaper Plaintiffs’

original content – content which provides a significant monetary benefit to Google but, yet, Google

does not pay for its use or share in profits it generates from it.



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         Fourth, concerning the alleged relevant markets, Digital Advertising focuses on a narrow

market of the ad technology “services” that link advertisers and publishers. The relevant market

in Digital Publisher is similarly defined: the markets for publisher Ad Servers, Ad Exchanges, and

Ad Networks. And, as stated above, the class allegations reflect the markets as pled. On the other

hand, the Newspaper Plaintiffs’ cases each allege harm flowing from anticompetitive abuses in the

broader digital advertising market.

         Fifth, the procedural issues in the cases differ in very important respects. The Newspaper

Plaintiffs’ cases are individual cases, not putative class actions. Combining the Newspaper

Plaintiffs’ cases with two massive putative class actions would have serious ramifications for the

Newspaper Plaintiffs, who allege that Google’s and Facebook’s misconduct threatens their

financial viability.17 Historically, in similar MDL proceedings, individual actions such as the

Newspaper Plaintiffs are relegated to the back of the procedural line, delaying resolution of the

case and any justice for the Newspaper Plaintiffs. Under Rule 1 of the Federal Rules of Civil

Procedure, the Newspaper Plaintiffs are entitled to a “just, speedy and inexpensive determination”

of their cases. Again, the Newspaper Plaintiffs each allege that they have suffered substantial


17
    Indeed, the Newspaper Plaintiffs allege that the unlawful practices of Google and Facebook
threaten the existence of the newspaper industry – particularly local news and journalism.
Newspaper advertising revenue, which is critical for funding high-quality journalism, has declined
from $49 billion in 2006 to $16.5 billion in 2017. See Majority Staff Report and
Recommendations, Investigation of Competition in Digital Markets (Oct. 6, 2020),
https://judiciary.house.gov/uploadedfiles/competition_in_digital_markets.pdf. These losses have
had dire consequences for the newspaper industry. Researchers at the University of North Carolina
School of Media and Journalism found that the United States has lost nearly 1,800 newspapers
since 2004 either to closure or merger, 70% of which were in metropolitan areas. As a result, the
majority of counties in America no longer have more than one publisher of local news, and 200
without any paper whatsoever. Id. at 61. Additionally, according to the Bureau of Labor Statistics,
between 1990 and 2016 nearly 30,000 newspaper jobs disappeared – a 60% industry-wide decline.
U.S. Bureau of Labor Statistics, Employment Trends in Newspaper Publishing and Other Media,
1990-2016 (June 2, 2016), https://www.bls.gov/opub/ted/2016/employment-trends-in-newspaper-
publishing-and-other-media-1990-2016.htm.


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losses to its advertising revenue from selling digital advertising space, and Defendants’

anticompetitive conduct is harming Plaintiffs’ ability to monetize its content. The Newspaper

Plaintiffs brought their respective actions against Google and Facebook for antitrust violations –

to promptly remedy the very real impact of Defendants’ actions on their businesses. Every day

that passes further threatens their financial viability. To delay prosecution because of inclusion of

the Newspaper Plaintiffs’ cases in an MDL with two massive consolidated putative class actions

would prejudice the Newspaper Plaintiffs, even to the extent of putting viable newspapers (at least

for the time being) out of business.

         Judge Jordan succinctly explained the problem of consolidating non-class action cases with

class cases in his §1404 Denial Order:

         the private class actions pending in the Northern District of California involve
         different claims, parties, defenses, and damages than this case. Further, the various
         proposed class plaintiffs in those cases will be required to meet the criteria of
         Federal Rule of Civil Procedure 23 before they can litigate their claims on a
         classwide basis. In this regard, the procedural posture of the proposed private class
         actions in the Northern District of California undermines Google’s argument that
         judicial economy will necessarily be advanced by transferring this case. Those
         actions are likely to undergo class discovery followed by class-certification motion
         practice, none of which is relevant to the case pending before this Court.
         Consolidating this case with multiple putative class actions would therefore
         introduce a substantial risk of unnecessary delay associated with Rule 23
         proceedings, which may be complex and heavily litigated, and which are unrelated
         to this litigation.

§1404 Denial Order at 15-16. The exact same analysis holds true for the Newspaper Plaintiffs’

individual actions.

         The Newspaper Plaintiffs seek a logical and procedurally efficient process for litigating

their actions. However, as the Supreme Court recognized, it is not uncommon in cases involving

far-reaching monopolies for similar conduct to injure many different groups, and for each of those

groups to proceed before different courts. See Apple Inc. v. Pepper, _ U.S. _, 139 S. Ct. 1514,

1525 (2019) (“Apple’s alleged anticompetitive conduct may leave Apple subject to multiple suits

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by different plaintiffs. . . . Multiple suits are not atypical[.]”). Google and Facebook are prime

examples.

         For all these reasons, the Newspaper Plaintiffs respectfully ask the Panel to deny transfer

of their thirteen actions to the Northern District of California.

         C.         Assuming the Panel Creates an MDL and Includes the Newspaper
                    Plaintiffs’ Cases, the Eastern District of Texas Is the Most
                    Appropriate Transferee Court

         Assuming the Panel creates an MDL and includes the Newspaper Plaintiffs’ cases therein,

the Newspaper Plaintiffs respectfully submit that the related actions be transferred to Judge Jordan

in the Eastern District of Texas, a district with no pending MDLs,18 for coordinated pretrial

proceedings with the Texas State AG Case.19 As noted, Judge Jordan has already taken several

important steps to advance the Texas State AG Case toward trial. No case against Google is more

advanced, other than perhaps the Department of Justice’s case in the District of Columbia

(discussed infra). While discovery coordination among parties in different federal district courts

could certainly be done, having one judge manage such coordination would be significantly more

efficient (as Google acknowledges). Indeed, as Judge Jordan noted in his §1404 Denial Order,

“much of the relevant documentary evidence is contained in Austin, Texas, at the Office of the

Attorney General of Texas as a result of the extensive investigation that precipitated this suit.”



18
   See MDL Statistics Report - Distribution of Pending MDL Dockets by District as of Apr. 15,
2021, at 4, https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
April-15-2021.pdf.
19
    Of note, the allegations set forth in the Texas AG Case, ECF No. 77, concern and
disproportionally affect the competitor Newspaper Plaintiffs. See, e.g., Google’s plan to control
and monetize publisher content (¶¶18, 261-262); allegations concerning direct ad sales (¶¶30, 36-
40, 177, 181); allegations concerning scrambling of user IDs (¶¶142-146, 148); allegations
concerning enhanced dynamic allocation (¶¶176-183); and allegations of Facebook’s conspiracy
with Google (¶¶12-14, 203-234).


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§1404 Denial Order at 9. And, in the Texas AG Case, “Google . . . specifically named only one

potential nonparty witness who possibly resides in the Northern District of California and would

therefore be inconvenienced by a trial in [the Eastern District of Texas].”

         Moreover, given that Judge Jordan has expressed his intent to move the Texas State AG

Case along swiftly, the private, non-class Newspaper Plaintiffs20 would also greatly benefit from

such speed and efficiency. See §1404 Denial Order at 19 (“based on both the shorter median

disposition and trial times in [the Eastern District of Texas] and the likelihood of a shorter

discovery period if this action is kept separate, the Court concludes that this factor weighs against

transfer.”). Unlike the class plaintiffs, who must overcome the procedural hurdle of class

certification, the private, non-class Newspaper Plaintiffs are more aligned with the Texas State AG

Case in seeking an early trial date. With the Northern District of California currently handling 20

pending MDLs, and a pending civil docket nearly three times that of the Eastern District of Texas,21

the best choice for an MDL transferee court in this matter is fairly clear.

         D.         Alternatively, the Southern District of New York, where Google Has
                    Admitted the Majority of Witnesses are Located, Would be an
                    Appropriate Transferee Court for the MDL

         If the Panel concludes that the Eastern District of Texas is an inappropriate forum for an

MDL, the Southern District of New York, where the Daily Mail case is pending, would also be an

appropriate transferee court for the MDL. This is true for the simple reason that Google itself has

conceded that much of its allegedly anticompetitive conduct occurred in the Southern District of


20
   Notably, Associated Newspapers Ltd. v. Google, LLC, No. 1:21-cv-03446 (“Daily Mail”)
pending in the Southern District of New York, discussed infra, is likewise an individual case on
behalf of a newspaper and not a class action.
21
    See U.S. District Courts—Civil Cases Filed, Terminated, and Pending, by Jurisdiction—
During the 12-Month Period Ending March 31, 2019, https://www.uscourts.gov/statistics/table/c-
1/federal-judicial-caseload-statistics/2019/03/31.


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New York, see Texas v. Google, LLC, No. 20-cv-00957 (E.D. Tex. Jan. 19, 2021), ECF No. 28 at

4-5, and – contrary to the claim in its motion (see §1407 Motion at 12) – that the largest share of

its witnesses relevant to these actions is located in the Southern District of New York. See Mar.

18, 2021 Hr’g Tr. at 49-50, Texas v. Google, LLC, No. 20-cv-00957 (E.D. Tex. Mar. 23, 2021),

ECF No. 90; see also §1404 Denial Order at 6 (noting that “Google further asserts that, because

the complaint refers to a number of Google communications authored or possessed by employees

that work in Northern California or New York.”) (emphasis added). Moreover, not only is New

York City the center of the nation’s publishing and advertising industries, with over 1,200 ad

agencies alone, many of the ad-tech companies that Google acquired (including DoubleClick), as

well as many of the rivals that Google has eliminated, were based in the Southern District of New

York. And, as noted below, the Newspaper Plaintiffs, their attendant witnesses, and their evidence

are likewise located in much closer proximity to New York.

         Judge P. Kevin Castel, currently overseeing Daily Mail, would be an excellent jurist to

guide any MDL. Judge Castel has ably presided over the MDL styled In re SunEdison, Inc. Sec.

Litig., No. 1:16-md-02742-PKC (S.D.N.Y.), since late 2016, and multiple class and individual

settlements have already been reached in that case. Judge Castel has significant experience as an

MDL transferee judge, including in other antitrust actions. See In re: Set-Top Cable Television

Box Antitrust Litig., 589 F. Supp. 2d 1379 (J.P.M.L. 2008).

         If Judge Castel is not available as a transferee judge for this MDL, the Newspaper Plaintiffs

respectfully submit that any member of the Southern District of New York’s deep and experienced

bench, including significant antitrust experience, could ably steer this litigation on the right path.




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         E.         The District of Colombia, Where Multiple Actions Are Currently
                    Pending, Would Likewise be an Appropriate Transferee Court

         If the Panel is inclined to coordinate these cases and declines to do so in the Eastern District

of Texas or in the Southern District of New York, the District of Columbia would likewise be an

appropriate transferee court. Currently pending in the District of Columbia are numerous related

antitrust enforcement actions against both Defendants Google and Facebook, including: (1) the

Department of Justice’s case against Google, United States v. Google LLC, No. 1:20-cv-03010-

APM) (D.D.C. filed Oct. 20, 2020) (“DOJ v. Google Case”); (2) the Federal Trade Commission’s

case against Facebook, Federal Trade Comm’n v. Facebook, Inc., No. 1:20-cv-03590-JEB (D.D.C.

filed Dec. 9, 2020) (“FTC v. Facebook Case”);22 (3) an antitrust enforcement action by 38

Attorneys General against Google, State of Colorado v. Google LLC, No. 1:20-cv-03715-APM

(D.D.C. filed Dec. 17, 2020) (“Colorado AG Case”); and (4) an antitrust enforcement action by 48

Attorneys General against Facebook, State of N.Y. v. Facebook, Inc., No. 1:20-cv-03589-JEB

(D.D.C. filed Dec. 9, 2020) (“AGs v. Facebook Case”).

         The DOJ v. Google Case and the Colorado AG Case have already been consolidated for

discovery purposes before Judge Amit P. Mehta; discovery has begun and is ongoing. As set forth

in the Government’s Joint Status Report in the DOJ v. Google Case, No. 1:20-cv-03010-APM,

(D.D.C. Apr. 23, 2021), ECF No. 131, Google has already produced nearly 500,000 documents

and the parties have issued subpoenas to approximately 47 third parties. Moreover, Google and

Facebook were required to turn over substantial documentation in response to the House Judiciary




22
   As the Panel is aware, under 28 U.S.C. §1407(g), antitrust actions brought by the United States
may not be transferred to another court.


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Committee’s requests for documents during its investigation of competition in digital markets,23

all of which have already been produced in the District of Columbia.

         Importantly, both the DOJ v. Google Case and the Colorado AG Case plead markets most

similar to those in the Newspaper Cases; that is, they plead markets for, inter alia: (1) general

search text advertising; and (2) general search advertising – rather than markets that consist of

search advertising services. See DOJ v. Google Case, No. 1:20-cv-03010-APM (D.D.C. Oct. 20,

2020), ECF No. 1, ¶¶97, 101; Colorado AG Case, No. 1:20-cv-03715-APM (D.D.C. Dec. 17,

2020), ECF No. 1, ¶¶ 59, 76, 82. As such, in terms of legal and factual issues related to market

definition, there will be far greater overlap between the Newspaper Cases and the DOJ and

Colorado AG case, than between the Newspaper Cases and the class cases pending in the Northern

District of California.

         In addition to the numerous above enforcement actions, three private lawsuits against both

Google and Facebook, which likewise plead a conspiracy under Section 1 of the Sherman Act

between Google and Facebook, have already been consolidated before Judge Ketanji Brown

Jackson in the District of Columbia. An amended Complaint was filed in that matter on May 19,

2021, alleging one count of violating Section 1 of the Sherman Act on behalf of a class of

purchasers of advertising. See Cliffy Care Landscaping LLC v. Facebook, Inc., No. 1:21-cv-

00360-KBJ (D.D.C. May 19, 2021), ECF No. 25.




23
    See Digital Markets Investigation, Antitrust Investigation of the Rise and Use of Market Power
Online and the Adequacy of Existing Antitrust Laws and Current Enforcement Levels, U.S. HOUSE
COMM. ON JUDICIARY, https://judiciary.house.gov/issues/issue/?IssueID=14921 (last visited May
24, 2021).


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         Given that the Newspaper Plaintiffs, the documents, and most of Google’s own witnesses

are located on or close to the East Coast, Plaintiffs respectfully suggest that Judge Mehta in the

District of Columbia could ably coordinate this litigation.

         F.         The Northern District of California Would Not be an Appropriate
                    Transferee Court

         The Northern District of California would not be an appropriate transferee court for an

MDL. Putting aside that – according to Google – the majority of witnesses are located in New

York City,24 there is clearly no “center of gravity” to this case, with the majority of cases pending

east of the Mississippi River. Indeed, Defendants’ location in the Northern District of California

is less of a consideration when, like here, the majority of actions primarily involve litigants

geographically focused elsewhere. See, e.g., In re Motor Fuel Temperature Sales Pracs. Litig.,

493 F. Supp. 2d 1365, 1367 (J.P.M.L. 2007) (“Given the geographic dispersal of constituent

actions and potential tag-along actions, no district stands out as the geographic focal point for this

nationwide docket.”). As Judge Breyer recently noted,

         The fact is that a lot of the work can be done by way of Zoom, which means the
         geographical center of a particular piece of litigation becomes less important. We
         just talked about how convenient it was to land at the airport and get to a particular
         point. That is less important now. We don’t need that now.25


24
    See also §1404 Denial Order at 7 (“Google has not demonstrated that the ease of access to
sources of proof is relatively greater in the Northern District of California than in the Eastern
District of Texas.”); id. at 8-9 (“Google has failed to present any evidence of the specific
documents or kinds of documents allegedly located in Northern California. By contrast, [the State
AGs] have provided rebuttal evidence that Google’s electronic documents are located in storage
facilities outside of Northern California (most of which are closer to this district than to the
Northern District of California) and that ten potential third-party witnesses possess relevant
documents stored closer to this district.”).
25
    See Amanda Bronstad, Did Monsanto Pay a Plaintiff to Force Preemption Appeal? Plus:
Judges Debate Vices and Virtues of Virtual MDL Hearings, LAW.COM (Apr. 28, 2021),
https://www.law.com/2021/04/28/did-monsanto-pay-a-plaintiff-to-force-preemption-appeal-plus-
judges-debate-vices-and-virtues-of-virtual-mdl-hearings/.


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         To be sure, in today’s world, in which most discovery is produced in electronic form,

responsive documents can be produced by Defendants in Texas or New York as readily in

Defendants’ home jurisdiction. See Fanning v. CAPCO Contractors, Inc., 711 F. Supp. 2d 65, 70

(D.D.C. 2010) (“[T]he location of documents is increasingly irrelevant in the age of electronic

discovery, when thousands of pages of documents can be easily digitized and transported to any

appropriate forum.”). Moreover, as multinational conglomerates and leviathans of the web and

digital advertising market, Defendants have a heavy presence in every judicial district. They not

only regularly engage in business within the borders of every District in the United States, but have

footprints all over the world. Other than being Google’s preferred district, the Northern District

of California does not offer any unique advantages.

         Moreover, the judicial system’s existing state of affairs – accelerated by the pandemic –

incorporates regular use of technology communications systems. As noted earlier, this emerging

trend makes the physical accessibility and convenience of the proposed transferee district less

important. The parties can all communicate electronically, which will reduce the amount of

required in-person appearances. This technology also allows the Panel to transfer matters to

districts that were not traditionally considered “centrally located” (although Texas is fairly central).

Broadening the scope of suitable transferee forums will also enable the Panel to increase

jurisdictional diversity and provide the opportunity for more judges to gain MDL experience.

         Nor are the consolidated cases pending in the Northern District of California much more

procedurally advanced,26 insofar as the parties in that case are still at the pleading stage. But



26
    Notably, in HD Media Co., LLC v. Google, LLC, No. 3:21-cv-00077 (S.D. W. Va.), Newspaper
Plaintiff HD Media filed its Complaint on January 29, 2021. Defendants were granted extensions
to May 18, 2021 to file their respective answers or responses to the Complaint. Instead of doing
so, however, at the last minute, Defendants emergently moved to stay those proceedings over
plaintiff’s objection, which the Court granted without any opportunity for plaintiff to be heard.

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perhaps most importantly, as explained above, sending the private Newspaper Plaintiffs’ actions

to that court is likely to cause significant delay in resolving their claims because, as in other similar

situations, private plaintiff cases are often relegated to the back of the procedural line. It would be

highly prejudicial to the Newspaper Plaintiffs if this were to occur.

                                           CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that the Panel: (1) deny Google’s

§1407 Motion as to the Texas State AG Case; (2) deny Google’s §1407 Motion as to Plaintiffs’

cases or, alternatively, transfer Plaintiffs’ cases as part of an MDL to the Eastern District of Texas,

the Southern District of New York, or the District of Columbia; and (3) grant such other and further

relief as the Panel deems just and proper.

 DATED: May 26, 2021                            Respectfully submitted,


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Thus, any slight differences in the stages of these proceedings were caused by Defendants’ actions,
which were presumably done in an attempt to manufacture MDL venue in the Northern District of
California by arguing the cases pending there are more procedurally advanced.


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